Case 2:23-cv-10126-HDV-SSC   Document 1   Filed 12/01/23   Page 1 of 17 Page ID
                                   #:1
Case 2:23-cv-10126-HDV-SSC   Document 1   Filed 12/01/23   Page 2 of 17 Page ID
                                   #:2
Case 2:23-cv-10126-HDV-SSC   Document 1   Filed 12/01/23   Page 3 of 17 Page ID
                                   #:3
Case 2:23-cv-10126-HDV-SSC   Document 1   Filed 12/01/23   Page 4 of 17 Page ID
                                   #:4
Case 2:23-cv-10126-HDV-SSC   Document 1   Filed 12/01/23   Page 5 of 17 Page ID
                                   #:5
Case 2:23-cv-10126-HDV-SSC   Document 1   Filed 12/01/23   Page 6 of 17 Page ID
                                   #:6
Case 2:23-cv-10126-HDV-SSC   Document 1   Filed 12/01/23   Page 7 of 17 Page ID
                                   #:7
Case 2:23-cv-10126-HDV-SSC   Document 1   Filed 12/01/23   Page 8 of 17 Page ID
                                   #:8
Case 2:23-cv-10126-HDV-SSC   Document 1   Filed 12/01/23   Page 9 of 17 Page ID
                                   #:9
Case 2:23-cv-10126-HDV-SSC   Document 1 Filed 12/01/23   Page 10 of 17 Page ID
                                   #:10
Case 2:23-cv-10126-HDV-SSC   Document 1 Filed 12/01/23   Page 11 of 17 Page ID
                                   #:11
Case 2:23-cv-10126-HDV-SSC   Document 1 Filed 12/01/23   Page 12 of 17 Page ID
                                   #:12
Case 2:23-cv-10126-HDV-SSC   Document 1 Filed 12/01/23   Page 13 of 17 Page ID
                                   #:13
Case 2:23-cv-10126-HDV-SSC   Document 1 Filed 12/01/23   Page 14 of 17 Page ID
                                   #:14
Case 2:23-cv-10126-HDV-SSC   Document 1 Filed 12/01/23   Page 15 of 17 Page ID
                                   #:15
Case 2:23-cv-10126-HDV-SSC   Document 1 Filed 12/01/23   Page 16 of 17 Page ID
                                   #:16
Case 2:23-cv-10126-HDV-SSC   Document 1 Filed 12/01/23   Page 17 of 17 Page ID
                                   #:17
